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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 AMERICAN PATENTS LLC,
                                                      CIVIL ACTION NO. 6:21-cv-1332
       Plaintiff,
                                                      ORIGINAL COMPLAINT FOR
         v.                                           PATENT INFRINGEMENT

 GRANDE COMMUNICATIONS                                JURY TRIAL DEMANDED
 NETWORKS, LLC,


       Defendant.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff American Patents LLC (“American Patents” or “Plaintiff”) files this original

complaint against Defendant Grande Communications Networks, LLC (“Grande” or

“Defendant”), alleging, based on its own knowledge as to itself and its own actions and based on

information and belief as to all other matters, as follows:

                                             PARTIES

       1.       American Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 2325 Oak Alley, Tyler, Texas, 75703.

       2.       Grande Communications Networks, LLC is a company duly organized and

existing under the laws of Delaware. Grande Communications Networks, LLC may be served

through its registered agent Corporation Service Company d/b/a CSC – Lawyers Incorporated at

211 E. 7th Street, Suite 620, Austin, Texas 78701.

       3.       Grande and its affiliates are a part of an interrelated group of companies which

together comprise one of the country’s largest providers of internet services, including under the

Grande Communications brand.
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       4.       Grande and its affiliates are part of the same corporate structure and distribution

chain for the making, importing, offering to sell, selling, and using of the accused devices in the

United States, including in the State of Texas generally and this judicial district in particular.

       5.       Grande and its affiliates share the same management, common ownership,

advertising platforms, facilities, distribution chains and platforms, and accused product lines and

products involving related technologies.

       6.       Grande and its affiliates regularly contract with customers regarding equipment or

services that will be provided by their affiliates on their behalf.

       7.       Thus, Grande and its affiliates operate as a unitary business venture and are

jointly and severally liable for the acts of patent infringement alleged herein.

                                 JURISDICTION AND VENUE

       8.       This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

       9.       This Court has personal jurisdiction over Grande pursuant to due process and/or

the Texas Long Arm Statute because, inter alia, (i) Grande has done and continues to do

business in Texas; (ii) Grande has committed and continues to commit acts of patent

infringement in the State of Texas, including making, using, offering to sell, and/or selling

accused products in Texas, and/or importing accused products into Texas, including by Internet

sales and sales via retail and wholesale stores, inducing others to commit acts of patent

infringement in Texas, and/or committing a least a portion of any other infringements alleged

herein; and (iii) Grande Communications Networks, LLC is registered to do business in Texas.




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       10.     Venue is proper in this district as to Grande Communications Networks, LLC

pursuant to 28 U.S.C. § 1400(b). Venue is further proper because Grande Communications

Networks, LLC has committed and continues to commit acts of patent infringement in this

district, including making, using, offering to sell, and/or selling accused products in this district,

and/or importing accused products into this district, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing at least a portion of any other infringements alleged herein in this district.

Grande Communications Networks, LLC has regular and established places of business in this

district, including at least at 7200 Imperial Drive, Waco, Texas 76712 and at 8 East Barton

Avenue, Temple, Texas 79903, as shown in the following screenshots:




(Source: Screenshot from McLennan CAD website)




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(Source: Screenshot from Google Maps Street View)




(Source: Screenshot from Bell CAD website)


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(Source: Screenshot from Google Maps Street View)

                                           BACKGROUND

       11.     The patents-in-suit generally pertain to communications networks and other

technology used in “smart” devices such as smartphones, smart TVs, and smart appliances. The

technology disclosed by the patents was developed by personnel at Georgia Institute of

Technology (“Georgia Tech”) and Nokia Corporation (“Nokia”).

       12.     Georgia Tech is a leading public research university located in Atlanta, Georgia.

Founded in 1885, Georgia Tech is often ranked as one of the top ten public universities in the

United States. The patents from Georgia Tech (“the Mody patents”) were developed by a

professor and a graduate student in Georgia Tech’s Electrical and Computer Engineering

department. The undergraduate and graduate programs of this department are often ranked in the

top five of their respective categories.

       13.     The Mody patents are related to Multi-Input, Multi-Output (MIMO) technology.

The inventors of the Mody patents were at the forefront of MIMO, developing, disclosing, and

patenting a solution for achieving both time and frequency synchronization in MIMO systems.

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The Mody patents (or the applications leading to them) have been cited during patent prosecution

hundreds of times, by numerous leading companies in the computing and communications

industries, including AMD, Alcatel Lucent, Altair, AT&T, Atheros, Blackberry, Broadcom,

Comcast, Ericsson, Facebook, HP, Hitachi, Huawei, Infineon, Intel, Interdigital, IBM, Kyocera,

Marvell, Matsushita, Mediatek, Motorola, NEC, Nokia, Nortel Networks, NXP, Panasonic,

Philips, Qualcomm, Realtek, Samsung, Sanyo, Sharp, Sony, STMicroelectronics, Texas

Instruments, and Toshiba.

       14.      Nokia is a Finnish multinational telecommunications, IT, and consumer

electronics company. Listed on both the Helsinki Stock Exchange and the New York Stock

Exchange, Nokia regularly makes the Fortune Global 500. Nokia has been the largest worldwide

vendor of mobile phones and smartphones and has been a major contributor to the mobile phone

industry.

       15.      The patent developed at Nokia (“the Rauhala patent”) is related to reduction of

interference in receivers with multiple antennas. The inventors of the Rauhala patent have a

combined fifty plus years of experience at Nokia and were prolific inventors for Nokia. Inventor

Jyri Rauhala spent over 25 years at Nokia. Mr. Rauhala obtained a Master of Science in Applied

Electronics, Digital Electronics from Tampere University of Technology in Finland and is named

as an inventor on 15 U.S. patents. Inventor Olli-Pekka Lunden spent over 8 years at Nokia. Dr.

Lunden obtained a Doctor of Science in Technology, Radio Engineering from Aalto University

and is named as an inventor on 5 U.S. patents. Currently, Dr. Lunden works as a university

lecturer at Tampere University of Technology in Finland. Inventor Marko Erkkila spent over

twenty years at Nokia. Mr. Erkkila obtained a Master of Science in Digital Signal Processing,




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Electronics, Computer Science from Tampere University of Technology in Finland and is named

as an inventor on 6 U.S. patents.

                                            COUNT I

                     INFRINGEMENT OF U.S. PATENT NO. 7,088,782

       16.     On August 8, 2006, United States Patent No. 7,088,782 (“the ‘782 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       17.     American Patents is the owner of the ‘782 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘782 Patent against infringers, and to collect damages for all relevant times.

       18.     Grande Communications used products and/or systems including, for example, its

Grande Communications Nighthawk Pro Gaming Router, its Enhanced Whole Home WiFi, and

its Enhanced Whole Home WiFi 6 families of products that include 802.11n and above

capabilities (“accused products”):




(Source : https://mygrande.com/internet/internet-equipment)




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(Source : https://mygrande.com/internet/internet-equipment)




(Source : https://mygrande.com/internet/internet-equipment)




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(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




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(Source : https://www.tomsguide.com/reviews/eero-pro-6)

       19.     By doing so, Grande has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 30 of the ‘782 Patent. Grande’s infringement in this regard is

ongoing.

       20.     Grande has infringed the ‘782 Patent by using the accused products and thereby

practicing a method for synchronizing a Multi-Input Multi-Output (MIMO) Orthogonal

Frequency Division Multiplexing (OFDM) system in time and frequency domains. For example,

the accused products support IEEE 802.11 n/ac standards and MIMO technology. According to

the IEEE 802.11n standard, the PLCP Protocol Data Unit (PPDU) has training fields and

signaling fields for helping in synchronizing the communication system.




(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)

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(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




(Source : https://www.tomsguide.com/reviews/eero-pro-6)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: https://www.cnrood.com/en/media/solutions/Wi-

       Fi_Overview_of_the_802.11_Physical_Layer.pdf)

       21.     The methods practiced by Grande’s use of the accused products include

producing a frame of data comprising a training symbol that includes a synchronization

component that aids in synchronization, a plurality of data symbols, and a plurality of cyclic

prefixes. For example, as part of the 802.11n standard, two preamble formats are defined for

frames: HT-mixed format and HT-greenfield format. The non-HT and HT-mixed format

preambles consist of training symbols, data symbols and guard intervals/cyclic prefixes, and the

training symbols (L-STF and L-LTF fields) are and have been used for frame synchronization.

Alternatively, on request from accused products, an 802.11 n/ac compliant WiFi access point can

act as a transmitter and perform the step of producing a frame of data comprising a training

symbol that includes a synchronization component that aids in synchronization, a plurality of

data symbols, and a plurality of cyclic prefixes.


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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: https://www.cnrood.com/en/media/solutions/Wi-

       Fi_Overview_of_the_802.11_Physical_Layer.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       22.    The methods practiced by Grande’s use of the accused products include

transmitting the frame over a channel. The data frames containing the preambles are transmitted

using one or more transmitting antennas. Alternatively, on request from an accused product, an

802.11 n/ac compliant WiFi access point can act as a transmitter and transmit the frame over a

channel using one or more transmitting antennas.




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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       23.     The methods practiced by Grande’s use of the accused products include receiving

the transmitted frame. For example, the receiving antennas of the accused products can receive

the transmitted frames for further processing.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       24.     The methods practiced by Grande’s use of the accused products include

demodulating the received frame. For example, the received data frames are demodulated using

the PLCP preambles.

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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       25.     The methods practiced by Grande’s use of the accused products include

synchronizing the received demodulated frame to the transmitted frame such that the data

symbols are synchronized in the time domain and frequency domain. For example, different

fields of data like training symbols, cyclic prefixes and other signal bits are present in the

received frame. The training symbols (L-STF and L-LTF fields) help in synchronizing the frame

in both the time domain and frequency domain.




(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




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(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




(Source : https://www.tomsguide.com/reviews/eero-pro-6)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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(Source: https://www.iith.ac.in/~tbr/teaching/docs/802.11-2007.pdf)

       26.    The methods practiced by Grande’s use of the accused products include wherein

the synchronizing in the time domain comprises coarse time synchronizing and fine time

synchronizing. For example, the demodulation of PPDU frames also includes detecting training

field bits and establishing a timing synchronization. This time synchronization would include

both coarse and fine time synchronization. In general, coarse time synchronization is done using

L-STF field and fine time synchronization is done using L-LTF field present in the preamble.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: Introduction to MIMO Communications, Hampton, Jerry R. (2014))




       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       27.     Grande has had actual knowledge of the ‘782 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Grande will have known and

intended (since receiving such notice) that its continued actions would infringe and actively

induce and contribute to the infringement of one or more claims of the ‘782 Patent.




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       28.     Grande has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘782 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       29.     American Patents has been damaged as a result of the infringing conduct by

Grande alleged above. Thus, Grande is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       30.     American Patents has neither made nor sold unmarked articles that practice the

‘782 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘782 Patent.

                                            COUNT II

                     INFRINGEMENT OF U.S. PATENT NO. 7,310,304

       31.     On December 18, 2007, United States Patent No. 7,310,304 (“the ‘304 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Estimating Channel Parameters in Multi-Input, Multi-Output (MIMO) Systems.”

       32.     American Patents is the owner of the ‘304 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘304 Patent against infringers, and to collect damages for all relevant times.

       33.     Grande made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Grande

Communications Nighthawk Pro Gaming Router, its Enhanced Whole Home WiFi, and its

Enhanced Whole Home WiFi 6 families of products that include 802.11n and above capabilities

(“accused products”):



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(Source : https://mygrande.com/internet/internet-equipment)




(Source : https://mygrande.com/internet/internet-equipment)




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(Source : https://mygrande.com/internet/internet-equipment)




(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




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(Source : https://www.tomsguide.com/reviews/eero-pro-6)

       34.     By doing so, Grande has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘304 Patent. Grande’s infringement in this regard is ongoing.

       35.     Grande has infringed the ‘304 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an Orthogonal

Frequency Division Multiplexing (OFDM) transmitter. For example, the accused products

support IEEE 802.11 n/ac standards and MIMO technology. The IEEE 802.11n standard “uses

OFDM modulation to transmit all data.”




       (Source:

       http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

       mimo/Content/mimo_80211n_overview.htm)



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       36.     The accused products include an encoder configured to process data to be

transmitted within an OFDM system, the encoder further configured to separate the data onto

one or more transmit diversity branches (TDBs). For example, the 802.11 ac standard is

backwards compatible with 802.11n and 802.11a. Thus, if a device, such as an accused product,

implements 802.11ac, then it also supports 802.11n and all previous versions of the WiFi

standards (i.e., IEEE 802.11 a/b/g/n). According to the IEEE 802.11n standard, an encoder block

is present in a transmitter section of general OFDM systems. The encoder(s) output(s) the data

onto multiple transmit chains (transmit diversity branches) for further processing.




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




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(Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       37.     The accused products include one or more OFDM modulators, each OFDM

modulator connected to a respective TDB, each OFDM modulator configured to produce a frame

including a plurality of data symbols, a training structure, and cyclic prefixes inserted among the

data symbols. For example, according to the IEEE 802.11n standard, a transmitter block would

contain different functional blocks which include constellation mappers, IDFT stage, and Guard

interval insertion. The constellation mapper maps the bits and the constellation points for

different modulation schemes like QPSK, BPSK, 16-QAM, and 64-QAM. Hence, there would

be modulator blocks for performing the modulation. After modulating the signal, it is converted




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into the time domain and is transmitted as frames of data. These transmitted frames include a

training structure, signal bits, cyclic prefixes and data bits.




        (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       38.    The accused products include one or more transmitting antennas in

communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel. The accused products support 802.11

a/b/g/n/ac WiFi standards and comprise one or more transmitting and one or more receiving

antennas. These transmitting antennas transmit multiple OFDM frames with various signal

fields over a channel. Thus, these transmitting antennas are connected to the OFDM modulators

to obtain the OFDM frames for further transmission.




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(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




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(Source : https://www.tomsguide.com/reviews/eero-pro-6)




(Source: http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

mimo/Content/mimo_80211n_overview.htm)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       39.     The accused products include wherein the training structure of each frame

includes a predetermined signal transmission matrix at a respective sub-channel, each training

structure adjusted to have a substantially constant amplitude in a time domain, and the cyclic

prefixes are further inserted within the training symbol, and wherein the cyclic prefixes within

the training symbol are longer than the cyclic prefixes among the data symbols, thereby

countering an extended channel impulse response and improving synchronization performance.

For example, a space time matrix is part of the data symbols and the training symbols in the

transmission data. This data is transmitted over different antennas. The WiFi standards use

guard intervals while transmitting frames to help the synchronization of frames at the receiver

end. These guard intervals are of different lengths for the preamble and data symbols. The

screenshots below show the Guard interval in the Long Training Field is 1.6 micro seconds, and


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the data field uses a Short guard interval of 0.4 micro seconds, so the cyclic prefix for the

training symbols is longer than the cyclic prefix for data symbols. The training symbols (L-STF,

HT-STF fields) in the 802.11n preamble have a constant amplitude in the time domain.




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://www.ahltek.com/WhitePaperspdf/802.11-20%20specs/802.11a-1999.pdf)




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(Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and Stacey,

Robert)

       40.     Grande has had actual knowledge of the ‘304 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Grande will have known and

intended (since receiving such notice) that its continued actions would infringe and actively

induce and contribute to the infringement of one or more claims of the ‘304 Patent.

       41.     Grande has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘304 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       42.     American Patents has been damaged as a result of the infringing conduct by

Grande alleged above. Thus, Grande is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.


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       43.     American Patents has neither made nor sold unmarked articles that practice the

‘304 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘304 Patent.

                                           COUNT III

                     INFRINGEMENT OF U.S. PATENT NO. 7,706,458

       44.     On April 27, 2010, United States Patent No. 7,706,458 (“the ‘458 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       45.     American Patents is the owner of the ‘458 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘458 Patent against infringers, and to collect damages for all relevant times.

       46.     Grande made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Grande

Communications Nighthawk Pro Gaming Router, its Enhanced Whole Home WiFi, and its

Enhanced Whole Home WiFi 6 families of products that include 802.11n and above capabilities

(“accused products”):




(Source : https://mygrande.com/internet/internet-equipment)

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(Source : https://mygrande.com/internet/internet-equipment)




(Source : https://mygrande.com/internet/internet-equipment)




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(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




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(Source : https://www.tomsguide.com/reviews/eero-pro-6)

       47.     By doing so, Grande has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘458 Patent. Grande’s infringement in this regard is ongoing.

       48.     Grande has infringed the ‘458 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an apparatus for

synchronizing a communication system. For example, the accused products can act and have

acted as a receiver in an apparatus for synchronizing a communication system. An 802.11 n/ac

compliant WiFi access point that is communicating with an accused product can be part of the

apparatus, acting as a transmitter. The accused products support IEEE 802.11 n/ac standards and

MIMO technology. The IEEE 802.11ac standard is backwards compatible with the 802.11n

standard. If a device such as an accused product complies with IEEE 802.11ac, it also complies

with IEEE 802.11n and all prior versions of the WiFi standards (802.11 a/b/g/n). According to

the 802.11a standard, the physical layer services include an OFDM system. According to the

IEEE 802.11n standard, all Protocol Data Unit (PPDU) frame formats have training fields and

signaling fields which would help in synchronizing the communication system.




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(Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




(Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




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(Source: https://standards.ieee.org/standard/802_11a-1999.html)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: https://ieeexplore.ieee.org/document/7797535/)




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       49.     The accused products include a number (Q) of Orthogonal Frequency Division

Multiplexing (OFDM) modulators, each OFDM modulator producing a frame having at least one

inserted symbol, a plurality of data symbols, and cyclic prefixes. According to the IEEE 802.11n

standard, a transmitter block contains different functional blocks which include, but are not

limited to, constellation mappers, IDFT stage, and Guard interval insertion. Constellation

mappers map the bits and the constellation points for different modulation schemes like QPSK,

BPSK, 16-QAM, 64-QAM. After modulating the signal, it is converted into time domain and is

transmitted as frames of data. These transmitted frames include training field bits, signal bits,

cyclic prefixes and data bits. Alternatively, on request from an accused product, an 802.11 n/ac

compliant WiFi access point can act as a transmitter that includes a number (Q) of OFDM

modulators, each OFDM modulator producing a frame having at least one inserted symbol, a

plurality of data symbols, and cyclic prefixes.




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)


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       50.     The accused products include Q transmitting antennas, each transmitting antenna

connected to a respective OFDM modulator, the transmitting antennas configured to transmit a

respective frame over a channel. The accused products support MIMO and comply with IEEE

802.11 a/b/g/n/ac standards. The transmitting antennas transmit multiple OFDM frames over a

channel. The transmitting antennas are connected to OFDM modulators to transmit the OFDM

frames over a channel. Alternatively, on request from an accused product, a WiFi access point

acts as a device that includes Q transmitting antennas, each transmitting antenna connected to a

respective OFDM modulator, the transmitting antennas configured to transmit a respective frame

over a channel.




(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




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(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




(Source : https://www.tomsguide.com/reviews/eero-pro-6)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       51.    The accused products include a number (L) of receiving antennas for receiving

the transmitted frames. For example, the accused products support MIMO and comply with

802.11 a/b/g/n/ac WiFi standards. The receiving antennas receive the transmitted frames.




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(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




(Source : https://www.tomsguide.com/reviews/eero-pro-6)

       52.     The accused products include L OFDM demodulators, each OFDM demodulator

corresponding to a respective receiving antenna, the L OFDM demodulators including a

synchronization circuit that processes the received frame in order to synchronize the received

frame in both time domain and frequency domain. For example, there is a demodulator block for

performing demodulation on the received frames. Further, synchronizing the received frame in


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time and frequency domains occurs. In an OFDM transmitter section, a modulated signal is

converted into time domain and is transmitted as multiple frames of data. The functional blocks

present at the receiver end processes the received data, converts the data into frequency domain,

and performs demodulation. Various signal bits present in the transmitted frames’ preamble

helps in demodulating the signal. A demodulator block is present at the receiver to perform

demodulation. Different fields of data like training bits, cyclic prefixes and other signal bits

present in the received frame helps in synchronizing the frame in both time and frequency

domain. There is a synchronization circuit which processes the received frame and synchronizes

them in both time and frequency domain.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)



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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       53.     The accused products include wherein each of the L OFDM demodulators

comprises a pre-amplifier, a local oscillator, a mixer having a first input and a second input, the


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first input connected to an output of the pre-amplifier, the second input connected to an output of

the local oscillator, an analog-to-digital converter (ADC) connected to an output of the mixer.

The demodulating section at the receiver end includes a pre-amplifier, a local oscillator, a mixer,

and an ADC. The received frames undergo filtering, amplification (pre-amplifier), down-

conversion and sampling (ADC). There are respective functional blocks for performing these

functions. After transmitting the data, the data is received by a receiving antenna for further

processing. To prevent the demodulator from demodulating the noise associated with the

received signal, an RF front end circuit is implemented to increase the SNR of the demodulated

signal. The RF front end circuit generally consists of amplifiers, local oscillator, filters and

mixers. The output from the mixer is generally fed to an analog-to-digital converter (ADC).

This RF front end circuit generally lies at the start of the demodulation process.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: VLSI for Wireless Communication)




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(Source: VLSI for Wireless Communication)




(Source: VLSI for Wireless Communication)




(Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

Compression, Schenk, Tim)




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       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       54.    The accused products include the synchronization circuit having one input

connected to an output of the ADC. The PPDU frames that are transmitted are demodulated at

the receiver end. The demodulation process includes estimating time and frequency offsets and

synchronizing accordingly.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       55.     The accused products include a cyclic-prefix remover connected to an output of

the synchronization circuit, a serial-to-parallel converter connected to an output of the cyclic

prefix remover, and a discrete Fournier transform (DFT) stage connected to an output of the

serial-to-parallel converter, an output of the DFT stage connected to another input to the

synchronization circuit. Cyclic prefixes are added in the preamble for each transmitted frame.

In a general OFDM system, a cyclic prefix remover circuit would be present at the receiver end.

The output from the cyclic prefix remover circuit would be fed to a serial-to-parallel converter

for performing a DFT operation on its output. The evidence also shows that the output of the

DFT stage is connected to the phase correction block that is part of the synchronization circuit.




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

Compression, Schenk, Tim)




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       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       56.     Grande has had actual knowledge of the ‘458 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Grande will have known and

intended (since receiving such notice) that its continued actions would infringe and actively

induce and contribute to the infringement of one or more claims of the ‘458 Patent.

       57.     Grande has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘458 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       58.     American Patents has been damaged as a result of the infringing conduct by

Grande alleged above. Thus, Grande is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.



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       59.     American Patents has neither made nor sold unmarked articles that practice the

‘458 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘458 Patent.

                                           COUNT IV

                     INFRINGEMENT OF U.S. PATENT NO. 6,847,803

       60.     On January 25, 2005, United States Patent No. 6,847,803 (“the ‘803 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Method for Reducing Interference in a Receiver.”

       61.     American Patents is the owner of the ‘803 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘803 Patent against infringers, and to collect damages for all relevant times.

       62.     Grande made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Grande

Communications Nighthawk Pro Gaming Router, its Enhanced Whole Home WiFi, and its

Enhanced Whole Home WiFi 6 families of products that include 802.11ac beamforming

capabilities (“accused products”):




(Source : https://mygrande.com/internet/internet-equipment)

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(Source : https://mygrande.com/internet/internet-equipment)




(Source : https://mygrande.com/internet/internet-equipment)




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(Source : https://www.netgear.com/media/XR1000_tcm148-91575.pdf)




(Source : https://mygrande.com/images/eero/eero-quick-reference-guide.pdf)




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(Source : https://www.tomsguide.com/reviews/eero-pro-6)




(Source: https://www.networkworld.com/article/3445039/beamforming-explained-how-it-

makes-wireless-communication-faster.html)

       63.     By doing so, Grande has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘803 Patent.

       64.     Grande has infringed the ‘803 Patent by using the accused products and thereby

practicing a method for reducing interference in a receiver for receiving information in receiving

time slots, in which receiver signals are received with at least a first antenna (ANT1) and a

second antenna (ANT2). For example, the accused products are and have been used by

Defendant to implement the IEEE 802.11-2016 Standard, whose requirements were in effect five

years before the Complaint. Devices that can communicate using 802.11 protocol are known as

Stations (STAs). Multiple Input Multiple Output (MIMO) and Beamforming techniques are and



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have been used by a STA with multiple antennas for steering the signals to each STA

(“receiver”) for reception. In such MIMO transmissions, the space-time streams in the

transmitted signal would be intended for reception by each STA in its corresponding time slots.

These time slots at which the STA receives the space-time streams with actual data information

can be construed as receiving time slots. Since, there are multiple antennas, when they transmit

simultaneously, the signal appears as interference at each of the receive antennas. Further, a STA

will also be able to identify the space-time streams intended for other STAs that act as

interference. STA uses the channel state information that is obtained by estimating a channel to

reduce the interference caused by other space time streams. The beamforming calibration

procedures (“method for reducing interference”) involves channel estimation and matrix

calculations which help in reducing the interference in a receiver. Indeed, the IEEE 802.11-2016

Standard shows MIMO systems with two STAs (i.e., STA A and STA B) using multiple

antennas (“a first antenna (ANT1) and a second antenna (ANT2)”) for receiving transmitted

signals.




       (Source : IEEE 802.11-2016 Standard, p. 2578)




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       (Source : IEEE 802.11-2016 Standard, p. 2392)




       (Source : IEEE 802.11-2016 Standard, p. 2580)




       (Source : https://www.pcmag.com/encyclopedia/term/sta)




       (Source : IEEE 802.11-2016 Standard, p. 2393)

       65.    The methods practiced by Grande’s use of the accused products include methods

where signals are received with said first antenna (ANT1) and second antenna (ANT2) at

moments of time other than in said receiving time slot, when no information is being received.

For example, the accused products are and have been used by Defendant to implement the IEEE

802.11-2016 Standard, whose requirements were in effect five years before the Complaint. A

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STA in that Standard transmits data in PHY Protocol Data Units (PPDUs). PPDUs can be

transmitted in High Throughput (HT) mode and Very High Throughput (VHT) mode. A Null

Data Packet (NDP) can be transmitted in both HT and VHT Modes. Training Fields (TFs) inside

the NDP carry no data related information and can be used as sounding PPDUs in beamforming

calibration procedures. Sounding PPDUs would help in channel estimation at the STA. Certain

TFs include the interference information which is used as reference during calibration

procedures. The NDPs (“signals received”) in HT-PPDU and VHT PPDU format includes

several TFs which are and have been used as a reference for the receiver to perform

calibration/tuning. Thus, there is no actual data information that is received during the

beamforming calibration procedures (“at moments of time other than in said receiving time

slots”).




(Source : IEEE 802.11-2016 Standard, p. 2393)




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(Source : IEEE 802.11-2016 Standard, p. 2347)




(Source : IEEE 802.11-2016 Standard, p. 2514)




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(Source : IEEE 802.11-2016 Standard, p. 2347)




(Source : IEEE 802.11-2016 Standard, p. 157)




(Source : IEEE 802.11-2016 Standard, p. 163)




(Source : IEEE 802.11-2016 Standard, p. 2580)




(Source : IEEE 802.11-2016 Standard, p. 1485)




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       66.     The methods practiced by Grande’s use of the accused products include methods

in which a reference signal representing interference in said other time slot is formed and used

for the tuning of the receiver in said receiving time slots. For example, the accused products are

and have been used by Defendant to implement the IEEE 802.11-2016 Standard, whose

requirements were in effect five years before the Complaint. In that Standard, beamforming

techniques are and have been used to improve the reception at a receiver STA. These techniques

use the channel state information and generate steering matrices for the transmission of data.

There are two types of beamforming methods described in the standard, Implicit feedback

beamforming and Explicit feedback beamforming. A steering matrix, Qk, is calculated in both

beamforming methods. Explicit feedback beamforming enables a beamformee i.e., receiving

STA to calculate beamforming feedback matrix based on the received sounding packets/PPDUs.

NDPs can be used as sounding PPDUs and hence, no data/information is received during the

beamforming procedures. The Standard shows a scenario wherein STA A (transmit STA)

transmits a sounding packet (which can be NDP PPDU) that is used by STA B (receiving STA)

to calculate a beamforming feedback matrix Vk (“reference signal”). The feedback matrix is later

sent to STA A for determining a steering matrix which is used to tune and re-calibrate the

receiver STA in order to demodulate the transmitted signal. Implicit feedback beamforming

enables STA to estimate a MIMO channel and calculate channel matrices, based on a received

sounding PPDU. NDPs can be used as sounding PPDUs and hence, no data/information is

received during the beamforming procedures. The Standard shows a scenario wherein STA A

and STA B (receiving STA) follow beamforming calibration procedures using sounding PPDUs.

STA A and STA B will exchange sounding PPDUs (which can be NDP PPDUs), using which

each of the STAs will estimate respective channel matrices. Quantized estimates of the channel



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matrices (“reference signal”) are sent from STA B to STA A. Later, STA A uses its local

estimates and the received quantized estimates from STA B to calculate set of correction

matrices. These correction matrices that are formed using the received quantized estimates, are

applied at transmit side of a STA to correct/tune the amplitude and phase differences in transmit

and receive chains. All the above discussed steps are performed as a part of beamforming

calibration procedures using sounding PPDUs. The Standard also shows equations for the

received signal with beamforming. The channel estimates and beamforming steering matrix are

and have been used to tune and re-calibrate the receiver in order to demodulate the transmitted

signal.




(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




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(Source : IEEE 802.11-2016 Standard, p. 2393)




(Source : IEEE 802.11-2016 Standard, p. 1477)




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(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)




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(Source : IEEE 802.11-2016 Standard, p. 2580)




(Source : IEEE 802.11-2016 Standard, p. 2393)




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(Source : IEEE 802.11-2016 Standard, p. 2395)




(Source : IEEE 802.11-2016 Standard, p. 1475)




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(Source : IEEE 802.11-2016 Standard, p. 2580)




(Source : IEEE 802.11-2016 Standard, p. 2394)




(Source : IEEE 802.11-2016 Standard, p. 2401)



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(Source : IEEE 802.11-2016 Standard, p. 2346)




(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




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(Source : IEEE 802.11-2016 Standard, p. 2393)

       67.     American Patents only asserts method claims from the ‘803 Patent.

       68.     American Patents has been damaged as a result of the infringing conduct by

Grande alleged above. Thus, Grande is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

             ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       69.     In addition to any specific products mentioned above, the accused products also

include at least the following products: Grande Communications Nighthawk Pro Gaming Router,

Grande Communications Enhanced Whole Home WiFi, and Grande Communications Enhanced

Whole Home WiFi 6, and Grande Communications Standard WiFi & Gig Modem.

       70.     Grande has also indirectly infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by inducing others to directly infringe the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent. Grande has induced the end-users, Grande’s customers, to directly infringe (literally

and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by

using the accused products.


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        71.     Grande took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause them to use the accused products in a manner that

infringes one or more claims of the patents-in-suit, including, for example, Claim 30 of the ‘782

Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.

        72.     Such steps by Grande included, among other things, advising or directing

customers and end-users to use the accused products in an infringing manner; advertising and

promoting the use of the accused products in an infringing manner; and/or distributing

instructions that guide users to use the accused products in an infringing manner.

        73.     Grande has performed these steps, which constitute induced infringement, with

the knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge

that the induced acts constitute infringement.

        74.     Grande was and is aware that the normal and customary use of the accused

products by Grande’s customers would infringe the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent. Grande’s inducement is ongoing.

        75.     Grande has also induced its affiliates, or third-party manufacturers, shippers,

distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe

(literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by importing, selling, offering to sell, and/or using the accused products.

        76.     Grande has at least a significant role in placing the accused products in the stream

of commerce in Texas and elsewhere in the United States.

        77.     Grande directs or controls the making of accused products and their shipment to

the United States, using established distribution channels, for sale in Texas and elsewhere within

the United States.



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          78.   Grande directs or controls the sale of the accused products into established United

States distribution channels, including sales to nationwide retailers.

          79.   Grande’s established United States distribution channels include one or more

United States based affiliates (e.g., at least Grande Communications, Inc. and Grande

Communications Management Co.).

          80.   Grande directs or controls the sale of the accused products on its own websites as

well as in its own storefronts in Texas and elsewhere in the United States, and expects and

intends that the accused products will be so sold.

          81.   Grande took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause such persons to import, sell, or offer to sell the accused

products in a manner that infringes one or more claims of the patents-in-suit, including, for

example, Claim 30 of the ‘782 Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458

Patent.

          82.   Such steps by Grande included, among other things, making or selling the accused

products outside of the United States for importation into or sale in the United States, or knowing

that such importation or sale would occur; and directing, facilitating, or influencing its affiliates,

or third-party manufacturers, shippers, distributors, retailers, or other persons acting on its or

their behalf, to import, sell, or offer to sell the accused products in an infringing manner.

          83.   Grande performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge that

the induced acts would constitute infringement.

          84.   Grande performed such steps in order to profit from the eventual sale of the

accused products in the United States.



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       85.     Grande’s inducement is ongoing.

       86.     Grande has also indirectly infringed by contributing to the infringement of the

‘782 Patent, the ‘304 Patent, and the ‘458 Patent. Grande has contributed to the direct

infringement of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by the end-user of the

accused products.

       87.     The accused products have special features that are specially designed to be used

in an infringing way and that have no substantial uses other than ones that infringe the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent, including, for example, Claim 30 of the ‘782 Patent,

Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.

       88.     As described above, the special features include improved wireless

communication capabilities used in a manner that infringes the ‘782 Patent, the ‘304 Patent, and

the ‘458 Patent.

       89.     The special features constitute a material part of the invention of one or more of

the claims of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and are not staple articles of

commerce suitable for substantial non-infringing use.

       90.     Grande’s contributory infringement is ongoing.

       91.     Furthermore, Grande has a policy or practice of not reviewing the patents of

others (including instructing its employees to not review the patents of others), and thus has been

willfully blind of American Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

2008 Mich. St. L. Rev. 19 (2008).

       92.     Grande’s actions are at least objectively reckless as to the risk of infringing valid

patents and this objective risk was either known or should have been known by Grande.

       93.     Grande has knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent.



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          94.    Grande’s customers have infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent.

          95.    Grande encouraged its customers’ infringement.

          96.    Grande’s direct and indirect infringement of the ‘782 Patent, the ‘304 Patent, and

the ‘458 Patent is, has been, and/or continues to be willful, intentional, deliberate, and/or in

conscious disregard of American Patents’ rights under the patents.

          97.    American Patents has been damaged as a result of the infringing conduct by

Grande alleged above. Thus, Grande is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                   CLARIFICATION REGARDING PATENT EXPIRATION

          98.    For the avoidance of doubt, American Patents does not seek relief under any

asserted patent for acts occurring after the expiration of that patent.

                                           JURY DEMAND

          American Patents hereby requests a trial by jury on all issues so triable by right.

                                       PRAYER FOR RELIEF

          American Patents requests that the Court find in its favor and against Grande, and that the

Court grant American Patents the following relief:

          a.     Judgment that one or more claims of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent have been infringed, either literally and/or under the doctrine of

equivalents, by Grande and/or all others acting in concert therewith;

          b.     A permanent injunction enjoining Grande and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in



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concert therewith from infringement of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent; or,

in the alternative, an award of a reasonable ongoing royalty for future infringement of the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent by such entities;

       c.       Judgment that Grande account for and pay to American Patents all damages to

and costs incurred by American Patents because of Grande’s infringing activities and other

conduct complained of herein, including an award of all increased damages to which American

Patents is entitled under 35 U.S.C. § 284;

       d.       That American Patents be granted pre-judgment and post-judgment interest on the

damages caused by Grande’s infringing activities and other conduct complained of herein;

       e.       That this Court declare this an exceptional case and award American Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.       That American Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: December 21, 2021                      Respectfully submitted,

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